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                             No. 22-7063
        IN THE UNITED STATES COURT OF APPEALS
         FOR THE DISTRICT OF COLUMBIA CIRCUIT

 AMERICAN SOCIETY FOR TESTING AND MATERIALS; NATIONAL FIRE
PROTECTION ASSOCIATION, INC.; AND AMERICAN SOCIETY OF HEATING,
    REFRIGERATING, AND AIR CONDITIONING ENGINEERS, INC.,
                         Appellants,
                               v.
                PUBLIC.RESOURCE.ORG, INC.,
                          Appellee.

    Appeal from the United States District Court for the District of
     Columbia, Hon. Tanya S. Chutkan, No. 1:13-cv-1215-TSC


AMENDED MOTION TO EXTEND DEADLINE FOR COPYRIGHT
      ALLIANCE TO FILE AMICUS CURIAE BRIEF


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                          October 10, 2022
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     Pursuant to Rule 27 of the Federal Rules of Appellate Procedure

and Circuit Rule 27, the Copyright Alliance respectfully requests a

modification of the briefing schedule so that it may have an additional

two weeks, beyond the current deadline, within which to file an amicus

curiae brief in support of Plaintiffs.

      Plaintiffs-Appellants filed their opening brief on September 16,

        2022;

      Amicus briefs in support of Plaintiffs currently are due October

        14, 2022;

      Appellee Public.Resource.Org’s answering brief currently is due

        November 14, 2022;

      Amicus briefs in support of Public.Resource.Org currently are

        due December 12, 2022;

      Plaintiffs’ reply brief currently is due January 13, 2023.

     Plaintiffs agree to this request. Public.Resource.Org has asked

Copyright Alliance to include the following position in this Motion: It

takes no position regarding a 2-week extension of Copyright Alliance’s

deadline for an amicus brief and will neither consent to the that

extension nor oppose a motion regarding such an extension so long as


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any timing change for that brief has no effect on the deadline for other

amici or on the other dates in the schedule.

                       PROCEDURAL BACKGROUND

     Plaintiffs filed this action in 2013, alleging copyright and

trademark infringement arising out of PublicResource.Org’s verbatim

copying and internet posting and distribution of Plaintiffs’ copyrighted

works and utilization of their trademarks.

     This case was previously before this Court in No. 17-7035.

Numerous amici filed briefs in that appeal, including several dozen

organizations and individuals supporting Public.Resource.Org. The

Copyright Alliance did not participate.

     This Court remanded for further proceedings in a published

opinion. Am. Soc’y for Testing & Materials v. Public.Resource.Org, Inc.,

896 F.3d 437, 449 (D.C. Cir. 2018). On remand, the district court

granted summary judgment largely in favor of Public.Resource.Org.

Plaintiffs appealed.

     The parties asked this Court to set a briefing schedule on June 29,

2022. That schedule was modeled on the schedule that

Public.Resource.Org requested in the prior appeal. (No. 17-7035, filed


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June 6, 2017). Both motions recognized that it was important for amici

with an interest in this lawsuit to have the opportunity to file amicus

briefs. This Court granted the requested schedules.

                  REASONS FOR REQUESTED RELIEF

     The Copyright Alliance requests a two-week extension for the

filing of its amicus brief to provide its counsel with sufficient time to

prepare the brief. The requested extension will not prejudice to

Public.Resource.Org and will allow the Copyright Alliance to submit its

amicus brief, which will discuss legislative developments that the

Copyright Alliance believes are relevant to the issues in this appeal.

     The Copyright Alliance makes this request because it only

recently retained counsel to prepare this amicus brief. Counsel requires

additional time due to existing matters and imminent briefing

deadlines.

     The requested extension is short, two weeks from the current

deadline of October 14, 2022. While Plaintiffs have indicated they

would join in a motion to extend the date for subsequent briefs to

accommodate this request, even without an extension

Public.Resource.Org will still have 17 days to make any points it wishes


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to make in response to the Copyright Alliance’s brief and to complete its

brief (which it will have been preparing at least since September 16).

      The requested extension will not prejudice any amici supporting

Public.Resource.Org. They still will have well over a month to prepare

any points they may have in response to the Copyright Alliance’s brief.

      The issue on appeal is important and merits full briefing and

input from interested stakeholders. The Copyright Alliance has an

interest in this proceeding on behalf of the broader constituency of

copyright owners that is not represented by any other amici. The

Copyright Alliance plans to submit an amicus brief that addresses

pending legislation regarding copyrighted works that are incorporated

by reference into law. Copyright Alliance seeks an extension to bring

this legislation to the Court’s attention and explaining the role of

Congress in setting the scope of copyright protection and policy, rather

than policy decision being enacted through the affirmative defense of

fair use.




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                             CONCLUSION

     For these reasons, the Copyright Alliance respectfully requests

the Court grant a two-week extension to its deadline to file a brief, until

October 28, 2022.



Dated: October 10,         Respectfully submitted,
2022

                           /s/Brian A. Coleman

                           Counsel for Amicus Curiae Copyright
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                 CERTIFICATE OF COMPLIANCE

     I hereby certify that this motion complies with the type-volume

limitation of Fed. R. App. P. 27(d)(2) because this motion contains 682

words. I further certify that this motion complies with the typeface

requirements of Fed. R. App. P. 32(a)(5) and the type style

requirements of Fed. R. App. P.32(a)(6).




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                     CERTIFICATE OF SERVICE

     I hereby certify that service of the foregoing will be made on

October 10, 2022 through the D.C. Circuit CM/ECF system, which will

serve counsel of record registered as CM/ECF users as follows:


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